                  CASE 0:15-cr-00237-JRT-BRT Document 197 Filed 04/28/20 Page 1 of 3
AO 245B (Rev. 11/16) Sheet 1 - Judgment in a Criminal Case




                                         UNITED STATES DISTRICT COURT
                                                             District of Minnesota

 UNITED STATES OF AMERICA                                                   §      JUDGMENT IN A CRIMINAL CASE
                                                                            §
 v.                                                                         §
                                                                            §      Case Number: 0:15-CR-00237-JRT-BRT(3)
 ISSAM HAMADE                                                               §      USM Number: 22233-041
                                                                            §      Bruce D Nestor
                                                                            §      Defendant’s Attorney

THE DEFENDANT:
 ☒ pleaded guilty to count(s)                                       1 of the second superseding indictment
        pleaded nolo contendere to count(s) which was
 ☐      accepted by the court
 ☐      was found guilty on count(s) after a plea of not guilty

The defendant is adjudicated guilty of these offenses:
 Title & Section / Nature of Offense                                                                      Offense Ended     Count
 18:371 CONSPIRACY TO VIOLATE THE INTERNATIONAL EMERGENCY ECONOMIC                                        12/31/2013        1
 POWERS ACT AND THE EXPORT ADMINISTRATION REGULATIONS, AND TO VIOLATE
 THE ARMS EXPORT CONTROL ACT AND THE INTERNATIONAL TRAFFIC IN ARMS
 REGULATIONS




The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

 ☐ The defendant has been found not guilty on count(s)
 ☐ Count(s) ☐ is ☐ are dismissed on the motion of the United States.
 ☒ $100.00 Special Assessment is due and payable immediately.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.


                                                                     April 27, 2020
                                                                     Date of Imposition of Judgment




                                                                     s/John R. Tunheim
                                                                     Signature of Judge

                                                                     JOHN R. TUNHEIM
                                                                     CHIEF JUDGE UNITED STATES DISTRICT COURT
                                                                     Name and Title of Judge

                                                                     April 28, 2020
                                                                     Date
                                                                       1
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AO 245B (Rev. 11/16) Sheet 2 - Imprisonment
DEFENDANT:                    ISSAM HAMADE
CASE NUMBER:                  0:15-CR-00237-JRT-BRT(3)

                                                           IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:

Time served as to count 1.

 ☐ The court makes the following recommendations to the Bureau of Prisons:



 ☐ The defendant is remanded to the custody of the United States Marshal.
 ☐ The defendant shall surrender to the United States Marshal for this district:

           ☐ at                                          on

           ☐ as notified by the United States Marshal.

 ☐ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

           ☐ before                         on
           ☐ as notified by the United States Marshal.
           ☐ as notified by the Probation or Pretrial Services Office.


                                                                  RETURN
I have executed this judgment as follows:


          Defendant delivered on                                         to


at                                            , with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL

                                                                                                      By
                                                                                          DEPUTY UNITED STATES MARSHAL




                                                                         2
                  CASE 0:15-cr-00237-JRT-BRT Document 197 Filed 04/28/20 Page 3 of 3
AO 245B (Rev. 11/16) Sheet 3 – Supervised Release
DEFENDANT:                    ISSAM HAMADE
CASE NUMBER:                  0:15-CR-00237-JRT-BRT(3)

                                                    SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of : No Term of Supervised Release
Imposed.




                                                               3
